Case 2:18-cV-O4485-T.]S Document 1 Filed 10/19/18 Page 1 of 14

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVAN!A

. DESlGNATlON FORM .
(to be used by counsel or pro se plaintijj" to indicate the category of !lie case for the purpose of assignment la fha appropriate calendar)
Address cf Plaimiff: Gregory l\/lcCa|op, 5 Spring Drive, Newark DE 19702

 

John Ste ens Jr, 34 E uestrian Drive, Burlin ton, NJ OBOlG and Mercer Grou |ntemaliona|, 1519 Rev S Howard Woodson JR Wa ,Trenlon, NJ 08638
Address of Defendant: p q g p y

 

378 5 Warminster Rd Hatboro PA 19040

Place of Accident, lncident or Transaction:

 

 

RELA TED CASE, IFANY:

Case Number: Judge: Date Terminated:

 

Civil cases are deemed related when Yes is answered to any of the following questions:

l. ls this case related to property included in an earlier numbered suit pending or within one year Yes m No-
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes ij No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes m No
numbered case pending or within one year previously terminated action of this court?

4. ls this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes E No
case filed by the same individual?

I certify that, to my knowledge, the within case [:] is / [] is not related to any case now pending or within one year previously terminated action in

this court except as noted above. v
\,

DATE: 10/1 8/201 a r/Q\A\/ g 3 tr 5 03

K> Attorney-at-La\\/ /0’)‘0 Se Plaintij" Artorney l.D. # (ifapplicable)

 

 

ClVIL: (Place a \/ in one category only)

 

 

 

 

 

A. Federal Queslian Cases: B. Diversity Jurisdiction Cases:
[:] l Indemnity Contract, Marine Contract, and All Other Contracts E| l Insurance Contract and Other Contracts
I:l 2 FELA m 2 Airplane Personal lnjury
13 3 Jones Act-Personal lnj ury [:] 3 Assault, Defamation
[:] 4 Antitmst [:] 4 Marine Personal lnjury
§ 5 Patent 5 Motor Vehicle Personal lnj ury

6 l_abor-Management Relations [:] 6 Other Personal injury (Please speci/j)):
[:I 7 Civil Rights [:| 7 Products Liability
\:] 8 Habeas Corpus [:| 8 Products Liability ~ Asbestos
E 9. Securities Act(s) Cases [:] 9 All other Diversity Cases

10. Social Security Review Cases (P/€¢'S€ Spec"fy)-'
|:| l l. All other Federal Question Cases

(P/ease specijj)).'
ARBITRAT[ON CERT|FICATION
(]he ejj’ect of this certification is la remove the case from eligibility for arbitralion.)

I, La uren M a Zzltem , counsel of record or pro se plaintiffj do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of 3150,000.00 exclusive of interest and costs:

{:| Relief other than monetary damages is sought.

DATE: 10/1 8/201 a jim l gm §§ g

UAttomey-at-Law ku Se Plaintl_'y" Attorney l.D. # (l`fapplicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R_C.P. 38.

 

(`iv. 609 (5 20/8)

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA '

CASE MANAGEMENT TRACK DESIGNATION FORM

GF€QOl‘y l\/ICC@|()p cleL Ac'rIoN

John Stephens Jr., et al § NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

 

management cases.) ( )
(f) Standard Management - Cases that do not fall into any one of the other tracks. (X)
10/18/2018 § /\(\/\_/ Gregory I\/|ccalop
Date k\Attoiney-‘at-law Attorney for
(215)467-4666 (267)639-9006 Laurenl\/lazzitel|i@gosimon.com
T_elephone FAX Number E-Mail Address

(Civ. 660) 10/02

Case 2:18-cV-O4485-T.]S Document 1 Filed 10/19/18 Page 3 of 14

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provided by local-rules of court This fonn, approved by the Judicial Conference of the

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as re uired by law, except as

nited States in September 1974, is.required for the use of the lerk of.Couit for the

purpose 01" initiating 1118 C1V11 docket Sh€€t. (.S'I:`I;`lN.W'Rl/(/`TIONS ON N[:'X[' I’AGE ()F TH]S I"()RM.)

 

I. (a) PLAINT!FFS
Gregory l\/|cCalop

(b) County of Residence of First Listed Plaintiff
(EXC[:`I’T[N (/.S. l’lA/N'I'[l"l"(`AS[:`.S`)

(C) AtiOm€yS (["l`rm Name, Addre.\'.r. and Te/ep/tonu Number)

Simon and Simon

1818 l\/larket Street, Suite 2000

Philadelphia, PA 19103

DEFENDANTS
John Stephens _lr. and
Mercer Group lntemationa| d/b/a Horizon Disposa| Ser\/ices

County of Residence of First Listed Defendant Burlington N_l
(lN U.S. PLAI]\F/']F/"('AS/'.S ()NLY)

1N LAND CONDEMNAT!ON CASES, USE THE LOCATION OI"
THE TRACT OF LAND lNVOLVED.

NO'I`E:

Attorneys (IfKnmi»n)

 

 

II. BASlS OF JURISD!CTlON ([’/ace mi "X"inO/ieBox()/il)y

|J l U.S. Govemment

Plaintiff

[] 3 F ederal Question

(US. Gt)vernmetit Not a I’arl)y

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2 U.S. Govemment
Defei\dant

m 4 Diversity
(lnd/`cate (,'iti:em'liip of l’arlie.r in ltem II])

 

 

 

 

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IV. NATURE OF SUlT (P/ace an "X" in Olie Box 011/)')

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110 Insurance

120 Mariiie

130 Miller Act

140 Negotiable Insnument

150 Recovery of Overpayment
& Enforcement of Judgment

151 Medicare Act

152 Recoveiy of Defaulted
Student l.oans
(Excludes Veterans)

153 Recovery of Overpayment
of Veteran’s Benefits

160 Stockliolders' Suits

190 Otlier Coiitract

195 Contract Product Liability

196 Franchise

 

FAI§=“PROPER“
210 Land Coiidemnation
220 Foreclosure

230 kent Lease & Ejectment
240 Torts to Laiid

245 Tort Product Liability
290 All Other Real Propet‘\y

 
 

 

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BANKRUPT

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III. ClTlZENSHlP OF PRINCIPAL PARTIES (Place an "X" in ()rie Bo.\'for [’lai'n/i'jy'
(I"or I)i\'errily Cases Onl)y and ())ie Bu.\'for Defenda)il)
PTF DEF PTF DEF
Citizen of Tliis State Cl 1 |J l lncorporated or Principal Place Cl 4 D 4
of Business ln Tl\is State
Citizeii ofAriother State g 2 g 2 Iiicorporated and Principal Place ij 5 g 5
ofBusiness In Another State
Citizen or Subject of a CJ 3 D 3 Foreigi\ Nation D 6 [] 6
Foreigii Couiitrv

 

PERSONAL lNJURY PERSONAL lNJURY 13 625 Drug Related Seizure [J 375 False Claims Act
D 310 Airplane 13 365 Persoiial Iiijury ~ of Property 21 USC 881 D 423 Withdrawal 13 400 State Reappor\ionment
U 315 Airplane Product Product Liability Cl 690 Other 28 USC 157 U 410 Aiititrust
Liability Cl 367 Health Care/ D 430 Banks and Banking
EJ 320 Assault, Libel & Pharmaceutical , ' MM`_'§§K D 450 Commerce
Slaiider Personal injury CJ 820 Copyn`gh\s D 460 Deportation
D 330 Federal Employers` Product Liability I‘J 830 Patent {J 470 Racketeer lnfluenced and
Liability 13 368 Asbestos Personal C| 840 Trademark Corrupt Organizations
ij 340 Marine lnjury Product Cl 480 Consumer Credit
Cl 345 Marine Product Liability ` UKU `\’\, 11 ? D 490 Cable/SatTV
Liability PERSONAL PROPERTY Cl 710 Fair lj 861 HIA(1395ff) D 850 Securities/Commodities/
5 350 Motor Vehicle C] 370 Other Fraud Act C] 862 Black Lung (923) Exchange
D 355 Motor Vehicle D 371 ’l`rutl'i in Lending 13 720 Labor/Management Cl 863 DIWC/DIWW (405(g)) D 890 Otlier Statutory Actions
Product Liability 0 380 Otlier Personal Rela\ions Cl 864 SSID Title XVI 13 391 Agricultural Acts
0 360 Otlier Persoiial Propeity Damage D 740 Railway l.abor Act D 865 RSI (405(g)) ij 893 Envirorimental Matters
Injury D 385 Propeity Damage |j 751 Family and Medical ij 895 Freedom of li\f`ormation
C] 362 Personal injury - Product Liability Leave Act Act
` ' ij 790 Other Labor Litigation U 896 Arbitranon
, RlSONER`RETITIONSY§>`< 13 791 Employee Retirement , ~' " D 899 Administrativc Procedure
Habeas Corpus: lncome Security Act D 870 Taxes (U.S. Plaiiitiff Act/Review or Appeal of

   

D 463 Alien Dctaii\ee

Cl 510 Motioiis to Vacate
Sentence

U 530 General

D 535 Death Penalty

Other:

C] 540 Mandamus & Other

0 550 Civil Rights

[`_'l 555 Prison Condition

ij 560 Civil Detaiiiee -
Conditions of
Confinement

ij 441 Votirig

E} 442 Employment

|J 443 Housing/
Accommodations

C] 445 Amer. \vaisabilities -
Employment

13 446 Amer. w/Disabilities -
Ot.lier

|] 448 Education

 

C'l
Cl 465 Other immigration
Actions

 

or Defendant)
0 871 IRS_Third Party
26 USC 7609

 

 

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Agency Decisioii
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State Statutes

 

V. ORlGIN (I’/ace an "X" m ())ie Bo.\' ()nly)

ja 1 Original Cl 2 Removed from CJ 3 Remanded from D 4 Reinstated or D 5 Transferred from El 6 Multidistrict
Proceeding State Court Appellate Court Reopened ;Xnotjhjr District Litigation
spent y

 

VI. CAUSE OF ACTION

28 U.S.C. § 1391 (e) (1)

Brief description of cause:

 

Plaintiffs vehicle struck by Defendants vehicle

Cite the U.S. Civi1 Statute under which you are filing (l)¢) not cite jurisdictional statutes unless diversity)f

 

 

 

 

 

VII. REQUESTED IN g CHECK IF THIS IS A CLASS AC]`[ON DEMAND $ CHECK YES only if demanded in complaint
COMPLA!NT: UNDER RULE 23, F.R.CV.P. JURY i)EMANi): 31 Yes ci No
VHI. RELATED CASE(S) (
S) ' in.'lr '/` .' .'
lF ANY L° ` m m"`) JUDGE pocket NUMBER
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UNITED sTATEs DIsTRICT Co'URT FoR THE
EASTERN DISTRICT oF PENNSYLVANIA

 

Gregory McCalop
5 Spring Drive :
Newark, DE 19702 : #

Plaintiff

V.

John Stephens Jr.
34 Equestrian Drive
Burlington, NJ 08016

and

Mercer Group International d/b/a
Horizon Disposal Services

1519 Rev S Howard Woodson JR Way
Trenton, NJ 08638

 

Defendants
COMPLAINT
PARTIES
1. Plaintiff, Gregory McCalop, is a resident of the State of Delaware, residing at the

address listed in the caption of this Complaint.

2. Upon information and belief, Defendant, John Stephens Jr., is a resident of the
State of New Jersey, residing at the address listed iri the caption of this Complaint.

3. Defendant, Mercer Group lnternational d/b/a Horizon Disposal Services, is a
corporate entity authorized to conduct business in the State of New Jersey, and regularly
conducts business in Philadelphia, with a business address listed in the caption of this

Cornplaint.

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`JURISDICTION AND VENUE

4. This Court has jurisdiction over the parties and subject matter of this Civil
Action~Complaint in that the Plaintiff, Gregory McCalop, is a citizen of Delaware and the
Defendant, John Stephens Jr., is a citizen of State of New Jersey, and the Defendant, Mercer
Group International d/b/a Horizon Disposal Services, upon information and belief is a corporate
entity with its principal place of business in New Jersey and the amount in controversy in this
case, exclusive of interest and costs, exceeds the sum of $75,000.

5. Venue is proper in this jurisdiction pursuant to 28 U.S.C. § 1391(a) (1) and (2) in
that this is a judicial district in which a substantial part of the events or omissions giving rise to
the claims asserted in this Complaint occurred in this judicial district.

w

6. On or about June l, 2018, at or about 11:00 a.m., Plaintiff, Gregory McCalop,
was the operator of a motor vehicle, Which was parked at 378 S Warminster Road, in Hatboro
PA 19040,

7. At or about the same date and time, defendant, John Stephens Jr., was the
operator of a motor vehicle, owned by defendant, Mercer Group lnternational d/b/a Horizon
Disposal Services, Which was traveling on Warminster Road, at or around the aforementioned
location of the plaintiffs vehicle.

8. At or about the same date and time, defendants’ vehicle was involved in a
collision with plaintiffs vehicle.

9. At all times relevant hereto, defendant, John Stephens Jr., Was operating the

aforesaid defendant, John Stephens Jr.’s vehicle as defendant Mercer Group International d/b/a

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Horizon Disposal Services’ agent, servant and/or employee, acting within the scope of its
agency.

10. The aforesaid motor vehicle collision was the result of defendant, negligently,
recklessly and/or carelessly, operating his vehicle in such a manner so as to strike plaintiffs
vehicle.

11. The aforesaid motor vehicle collision was a direct result of the negligence,
recklessness and/or carelessness of the defendants and not the result of any action or failure to
act by the plaintiff

12. As a result of the collision, Plaintiff suffered severe and permanent injuries, as
are more fully set forth below.

COUNT I
Gregory Mccalop v. John Stephens Jr.
Negligence

13. Plaintiff incorporates the foregoing paragraphs of this Complaint as if set forth
fully at length herein.

14. The negligence, recklessness and/or carelessness of the defendant, which was the
direct cause of the aforesaid motor vehicle collision and the resultant injuries sustained by the
plaintiffs, consisted of but are not limited to the following:

a. Striking plaintiffs vehicle;

b. Operating his vehicle into plaintiffs lane of travel;

c. F ailing to maintain proper distance between vehicles‘,

d. Operating said vehicle in a negligent, careless and/or reckless manner
Without regard for the rights or safety of Plaintiffs or others;

e. Failing to have said vehicle under proper and adequate control;

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f. Operating said vehicle at a dangerous and excessive rate of speed under the

circumstances;
g. Violation of the assured clear distance rule;

h. Failure to keep a proper lookout;

i. Failure to apply brakes earlier to stop the vehicle without striking the

plaintiff s vehicle;
j. Being inattentive to his duties as an operator of a motor vehicle;

k. Disregarding traffic lanes, patterns, and other devices;

1. Driving at a high rate of speed which was high and dangerous for

conditions;

m. Failing to remain continually alert while operating said vehicle;

n. Failing to perceive the highly apparent danger to others which the actions

and/or inactions posed;

o. Failing to give Plaintiffs meaningful Warning signs concerning the

impending collision;

p. Failing to exercise ordinary care to avoid a collision;

q. Failing to be highly vigilant and maintain sufficient control of said vehicle

and to bring it to a stop on the shortest possible notice;

r. Operating said vehicle with disregard for the rights of Plaintiff, even though

he was aware or should have been aware of the presence of Plaintiff and the

threat of harm posed to him;

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1 s. Continuing to operate the vehicle in a direction towards the plaintiffs
vehicle when he saw, or in the exercise of reasonable diligence, should have
seen, that further operation in that direction would result in a collision;

t. Failing to operate said vehicle in compliance with the applicable laws and
ordinances of the Commonwealth of Pennsylvania, pertaining to the
operation and control of motor vehicles; and

u. Being otherwise reckless, careless and/or negligent under the circumstances

15. As a direct and consequential result of the negligent, careless, and/or reckless
conduct of the defendant, described above, the Plaintiff suffered various serious and permanent
personal injuries, including shoulder, back, and wrist injuries, serious impairment of bodily
function and/or permanent serious disfigurement and/or aggravation of pre-existing conditions,
all to Plaintiffs great loss and detriment

16. As a result of these injuries, all of which are permanent in nature and all of
Which are to Plaintiffs great financial detriment and loss, Plaintiff has in the past, is presently
and may in the future suffer great anguish, sickness and agony and Will continue to suffer for an
indefinite time into the future.

l7. As an additional result of the carelessness negligence and/or recklessness of
defendant, Plaintiff has suffered emotional injuries, along with the physical injuries suffered.

18. As a further result of Plaintiffs injuries he has in the past, is presently and may
in the future undergo a great loss of earnings and/or earning capacity, all to Plaintiffs further
loss and detriment

19. As a direct result of the negligent, careless, and/or reckless conduct of the

defendant, plaintiff suffered damage to his personal property, including his motor vehicle,

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which plaintiff was operating at the time of the aforesaid motor vehicle collision; including but
not limited to, storage fees and towing, all to Plaintiffs great loss and detriment

20. Furthermore, in addition to all the injuries and losses suffered by Plaintiff,
Plaintiff has also incurred or will incur medical, rehabilitative and other related expenses in an
amount equal to and/or in excess of the basic personal injury protection benefits required by the
Pennsylvania Vehicle Financial Responsibility Law, 75 Pa.C.S. Section 1701, e_t; §eq., as
amended, for which she makes a claim for payment in the present action.

WHEREFORE, Plaintiff, Gregory McCalop, prays for judgment in plaintiffs’ favor and
against defendant, John Stephens Jr., in an amount in excess of Seventy~Five Thousand
($75,000.00) Dollars, plus all costs and other relief this court deems necessary

COUNT II
Gregory McCalop v. Mercer Group International d/b/a Horizon Disposal Services
RESP()NDEAT SUPERIGR

21. Plaintiff incorporates the foregoing paragraphs of this Complaint as if set forth
fully at length herein.

22. The negligence, recklessness and/or carelessness of the defendant, Mercer Group
International d/b/a Horizon Disposal Services, itself and by and through its agent, servant and/or
employee, John Stephens Jr., acting at all times relevant hereto within the scope of his agency,
which Was the direct and proximate cause of the aforesaid motor vehicle collision and the
resultant injuries sustained by the plaintiffs, consisted of but are not limited to the following:

a. Striking plaintiffs vehicle;

b. Operating his vehicle into plaintiffs lane of travel;

c. Failing to maintain proper distance between vehicles;

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d. Operating said vehicle in a negligent, careless and/or reckless manner
Without regard for the rights or safety of Plaintiffs or others;

e. Failing to have said vehicle under proper and adequate control;

f. Operating said vehicle at a dangerous and excessive rate of speed under the
circumstances;

g. Violation of the assured clear distance rule;

h. Failure to keep a proper lookout;

i. F ailure to apply brakes earlier to stop the vehicle without striking the
plaintiff s vehicle;

j. Being inattentive to his duties as an operator of a motor vehicle;

k. Disregarding traffic lanes, patterns, and other devices;

l. Driving at a high rate of speed which was high and dangerous for
conditions;

m. Failing to remain continually alert while operating said vehicle;

n. Failing to perceive the highly apparent danger to others which the actions
and/or inactions posed;

o. Failing to give Plaintiffs meaningful Warning signs concerning the
impending collision;

p. Failing to exercise ordinary care to avoid a collision;

q. Failing to be highly vigilant and maintain sufficient control of said vehicle

and to bring it to a stop on the shortest possible notice',

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r. Operating said vehicle with disregard for the-rights of Plaintiff, even though
he was aware or should have been aware of the presence of Plaintiff and the
threat of harm posed to him;

s. Continuing to operate the vehicle in a direction towards the plaintiffs
vehicle when he saw, or in the exercise of reasonable diligence, should have
seen, that further operation in that direction would result in a collision;

t. Failing to operate said vehicle in compliance with the applicable laws and
ordinances of the Commonwealth of Pennsylvania, pertaining to the
operation and control of motor vehicles and

u. Being otherwise reckless careless and/or negligent under the circumstances

23. As a direct and consequential result of the negligent, careless and/or reckless
conduct of the defendant, described above, the Plaintiff suffered various serious and permanent
personal injuries including shoulder, back and wrist injuries serious impairment of bodily
function and/or permanent serious disfigurement and/or aggravation of pre-existing conditions
all to Plaintiffs great loss and detriment

24. As a result of these injuries all of which are permanent in nature and all of
which are to Plaintiffs great financial detriment and loss Plaintiff has in the past, is presently
and may in the future suffer great anguish, sickness and agony and will continue to suffer for an
indefinite time into the future.

25. As an additional result of the carelessness negligence and/or recklessness of

defendant, Plaintiff has suffered emotional injuries along with the physical injuries suffered

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26. AAs a further result of Plaintiffs injuries he~has in the past, is presently and may
in the future undergo a great loss of earnings and/or earning capacity, all to Plaintiff s further
loss and detriment

27. As a direct result of the negligent, careless and/or reckless conduct of the
defendant, plaintiff suffered damage to his personal property, including his motor vehicle,
which plaintiff was operating at the time of the aforesaid motor vehicle collision; including but
not limited to, storage fees and towing, all to Plaintiffs great loss and detriment

28. Furthermore, in addition to all the injuries and losses suffered by Plaintiff,
Plaintiff has also incurred or will incur medical, rehabilitative and other related expenses in an
amount equal to and/or in excess of the basic personal injury protection benefits required by the
Pennsylvania Vehicle Pinancial Responsibility Law, 75 Pa.C.S. Section 1701, e_t. S_ecL., as
amended, for which she makes a claim for payment in the present action.

WHEREFORE, Plaintiff, Gregory McCalop, prays for judgment in plaintiffs’ favor and
against defendant, Mercer Group lnternational d/b/a Horizon Disposal Services in an amount in
excess of Seventy-Five Thousand ($75,000.00) Dollars, plus all costs and other relief this court

deems necessary.

COUNT III
Gregory McCalop v. Mercer Group International d/b/a Horizon Disposal Services
Negligent Entrustment
29. Plaintiff incorporates the foregoing paragraphs of this Complaint as if set forth
fully at length herein.
30. The negligence, recklessness and/or carelessness of the defendant, which was the

proximate cause of the aforesaid motor vehicle collision and the resultant injuries sustained by

the plaintiffs consisted of but are not limited to the following:

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a. Permitting Defendant, John Stephens Jr., to operate the motor vehicle
without first ascertaining whether or not he was capable of properly
operating said vehicle',

b. Permitting Defendant, John Stephens Jr., to operate the motor vehicle when
Defendant, Mercer Group International d/b/a Horizon Disposal Services
knew, or in the exercise of due care and diligence, should have known that
defendant, John Stephens Jr., was capable of committing the acts of
negligence set forth above;

c. Failing to warn those persons including the Plaintiff, that Defendant,
Mercer Group International d/b/a Horizon Disposal Services knew, or in the
existence of due care and diligence should have known, that the Plaintiff
would be exposed to Defendant, John Stephens Jr.’s negligent operation of
the motor vehicle; and

d. Otherwise negligently entrusting said vehicle to said individual Defendant,
John Stephens Jr.

31. As a direct and consequential result of the negligent, careless and/or reckless
conduct of the defendant, described above, the Plaintiff suffered various serious and permanent
personal injuries serious impairment of bodily function and/or permanent serious disfigurement
and/or aggravation of pre-existing conditions all to Plaintiffs great loss and detriment

32. As a result of these injuries all of Which are permanent in nature and all of
which are to Plaintiffs great financial detriment and loss Plaintiff has in the past, is presently
and may in the future suffer great anguish, sickness and agony and will continue to suffer for an

indefinite time into the future.

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331 As an additional result of the carelessness negligence and/or recklessness of
defendant, Plaintiff has suffered emotional injuries along with the physical injuries suffered

34. As a further result of Plaintiff s injuries he has in the past, is presently and may
in the future undergo a great loss of earnings and/or earning capacity, all to Plaintiffs further
loss and detriment

35. Furthermore, in addition to all the injuries and losses suffered by Plaintiff,
Plaintiff has also incurred or will incur medical, rehabilitative and other related expenses in an
amount equal to and/or in excess of the basic personal injury protection benefits required by the
Pennsylvania Vehicle Financial Responsibility Law, 75 Pa.C.S. Section 1701, et _S;e_q;, as
amended, for which she makes a claim for payment in the present action

WHEREFORE, Plaintiff, Gregory McCalop, prays for judgment in plaintiffs favor and
against defendant, Mercer Group lnternational d/b/a Horizon Disposal Services in an amount in
excess of Seventy-Five Thousand ($75,000.00) Dollars, plus all costs and other relief this court
deems necessary.

Respectfully Submitted,

SIMON & SIMON, P.C.

BY: `\€.in/r\/

Lailiren Maz§;iitelli, Esquire
Attorney for Plaintiff

 

